EXHIBIT 1
May 13, 2025

Via email and Certified Mail - Return Receipt Requested


Amanda Plank
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 Professional Animal
 Retirement Center Inc (PARC)                  Steve Bobay
 aka Black Pine Animal                         1426 W 300 N
 Sanctuary aka Black Pine                      Albion, IN 46701
 Animal Park                                   info@blackpine.org
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Barryarochford@gmail.com                       The Honorable Doug Burgum
                                               Secretary of the Interior
Luke Funk                                      U.S. Department of the Interior
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Albion, IN 46701                               Washington, DC 20240
info@blackpine.org                             Paul Souza
                                               Director, U.S. Fish & Wildlife Service
Tom Tearney                                    1849 C St. NW, Rm. 3331
1426 W 300 N                                   Washington, DC 20240
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Re.: Notice of Intent to File Citizen Suit Pursuant to the Endangered Species Act Against
Professional Animal Retirement Center Inc, Black Pine Animal Sanctuary, Black Pine
Animal Park, Amanda Plank, Ted Storer, Barry Rochford, Cindy O'Brien, Steve Smith

This letter constitutes notice, pursuant to Section 11 of the Endangered Species Act (“ESA”), 16
U.S.C. § 1540(g)(2)(A)(i), that Joseph Maldonado intends to file suit against Professional
Animal Retirement Center, Inc, known as “PARC”, an organization doing business in the State
of Indiana as Black Pine Animal Sanctuary, known as “BPAS”, located at 1426 W 300 N
Albion, IN 46701, Amanda Plank as an individual and in her capacity as Executive Director
and/or CEO, Barry Rochford as an individual and in his capacity as the President, Steve Smith as
an individual and in his capacity as the Vice President, Cindy O'Brien as an individual and in her
capacity as the secretary, Luke Funk as an individual and in his capacity as the treasurer, Ted
Storer, as an individual and in his capacity as a board member, Jim Kratzat, as an individual and
in his capacity as a board member, Jessica Fulk, as an individual and in her capacity as a board
member, Steve Bobay, as an individual and in his capacity as a board member, Tom Tearney, as
an individual and in his capacity as a board member, and the persons primarily responsible for
caring for the animals described herein (collectively, (PARC), in federal district court pursuant
to 16 U.S.C. § 1540(g)(l)(A) for chronic and ongoing violations of the ESA, 16 U.S.C. §
1538(a)(l)(B), (G), and its implementing regulation, 50 C.F.R. § 17. 21, to enjoin the facility's
ongoing "take" of tigers. Should PARC elect to remedy the ESA violations described below and
avoid litigation, it should immediately contact the undersigned attorney to effectuate an
agreement to immediately cease the spaying and neutering regarding the protected Big Cats
within the sixty-day notice period.

   I.      The Endangered Species Act

   Section 9 of the Endangered Species Act (“ESA”) prohibits the “take” of endangered and
   most threatened species within the United States. Tigers are listed as an “endangered
   species” under the ESA. To which the "take" prohibition applies. Congress defined "take"
   "in the "broadest possible" manner to include every conceivable way in which a person can
   take or attempt to take any fish or wildlife." ''Take" is defined by statute to mean "to harass,
   harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to engage in
   any such conduct." 16 U.S. Code § 1532(19).
   "Harm" and "harass" are defined by regulation. "Harm" is "an act which actually kills or
   injures wildlife" including "by significantly impairing essential behavioral patterns,
   including breeding, feeding or sheltering."6 "Harass" is "an intentional or negligent act or
   omission which creates the likelihood of injury to wildlife by annoying it to such an extent
   as to significantly disrupt normal behavioral patterns which include, but are not limited to,
   breeding, feeding, or sheltering." ''Wound" is not defined by statute or regulation. Its
   dictionary definition, as a verb, is "to cause a wound to or in," or "to inflict a wound"; as a
   noun, wound is defined as "an injury to the body (as from violence, accident, or surgery) that
   typically involves laceration or breaking of a membrane (such as the skin) and usually damage
   to underlying tissues."
On information and belief, PARC does not allow the Big Cats in its care to reside in communal
groups, therefore on information and belief the only purpose of this unnecessary procedure to
neuter Elvis is to prevent the non-aggressive nuisance of marking, which is a genetically
hardwired instinct. To deprive a big cat of its right to exhibit this natural tendency is a “harm”
as defined under the ESA.

On Information and belief, PARC, do not possess a captive-bred wildlife permit and would need to
possess any such permit to "take" Big Cats. Yet, PARC, as described below, confines and maintains
Big Cats in conditions that "harm," "harass," and "wound" them in violation of Section 9 of the ESA9
and its implementing regulations, 10 and thereby also unlawfully possesses them11 in further violation
of the Act.


II.     Professional Animal Retirement Center Takes Big Cats in Violation of the ESA

PARC takes protected Big Cats by spaying and or neutering them, actions which harass and
result in or creates a likelihood of injury to the animals.

Specifically, PARC has posted publicly, on social media platforms, their intent to neuter
“Elvis”, a white Bengal tiger born in 2016, and a protected Big Cat under the provisions of the
ESA, sometime between May 16, 2025, May 17, 2025, or May 18, 2025. Neutering Big Cats is
illegal under the ESA. As defined by the ESA, neutering is an “act which actually kills or
injures wildlife" including "by significantly impairing essential behavioral patterns,
including breeding, feeding or sheltering" and is therefore a “harm”. Neutering Elvis
certainly impacts his ability to breed, as well as puts him at greater risk for hormonal
changes and certain cancers, as well as metabolic changes and weight gain, and an
increased risk of urinary tract issues. There is also significant risk of surgical complications
and death associated with this procedure. Sedation of big cats often causes distress and
poses health risks to the animal such as seizures, convulsions, and risk of aspiration.
Sedation of a tiger Elvis’s age carries significant higher risks due to age-related decline in
organ function, particularly to the heart and lungs. Older animals may have less efficient
hearts and blood vessels, making them more susceptible to complications during anesthesia.
Anesthesia can further depress heart function, potentially leading to arrhythmias or heart
failure. Senior Tigers may have decreased lung capacity and elasticity, making them more
vulnerable to respiratory depression, reduced oxygen levels (hypoxia), and difficulties
breathing.

The conditions set forth herein, violate ESA’s prohibition on the "take" of the Big Cats.
Unless the violations described herein cease immediately, Joseph Maldonado intends to file
suit against PARC under the ESA after the expiration of sixty days. Pursuant to the ESA,
Joseph Maldonado will seek declaratory relief and an injunction against continued
violations, including, but not limited to; requesting that the court order the transfer of the
Big Cats to reputable accredited American Zoological Association (“AZA”) facilities that
participates in the Tiger Species Survival Plan (“SSP”), as well as attorney's fees and
litigation costs.
In the interim, Joseph Maldonado demands that PARC and it’s staff and Board of Directors
agree to enter a preservation order in this matter containing the following terms: (i) PARC,
its staff, and board of directors agree to preserve and not destroy, or alter in any manner any
and all animals in their possession; (ii) PARC, its staff, and board of directors agree to
preserve and not destroy any and all evidence, documents, tangible items and electronic
data that are the subject of or relevant to the violations addressed in this letter; and.(iii)
PARC, its staff, and board of directors agree to permit an on-site inspection of the property,
·within thirty days, to confirm that all of the Big Cats at PARC are being preserved and
altered in any manner. Please confirm by 5 p.m. (ET) May 19th 2025, that PARC, its staff,
and board of directors agree to enter into a preservation order as described herein. If I do
not hear from you by then, Joseph Maldonado will have no alternative but to seek
appropriate legal relief with the court.

During the sixty-day notice period, Mr. Maldonado, through counsel, is willing to discuss a
mutually agreeable remedy for the violations addressed in this letter. Specifically, Mr.
Maldonado is willing to drop all claims, in exchange for an agreement that PARC shall not
spay or neuter any Big Cats in perpetuity. If PARC wishes to pursue this remedy and avoid
litigation directly, you can reach me by phone at (775) 764-9347 or by e-mail at
roger@rootsjustice.com

Respectfully,                          May 13, 2025
Roger Roots Esq
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